Case 1:15-cv-00721-PLM-ESC ECF No.1, PagelD.1 Filed 07/10/15 Page 1 of 35

 

 

 

FILED-GR
In the United States District Court Ju oy O Aot5 1 130 AM
For the Western District of Michigan esis osrar OF MICHIGAN 0
\
ROBERT LEE BOLES, JR., #156632 PY mie senneo DAO
(Enter above the full names of all plaintiffs, including prisoner number, in this action.)
1:15-cv-721

Paul L Maloney - Chief U.S. District Judge

Vv.
Ellen S. Carmody - U.S. Magistrate Judge

 

ARAMARK CORRECTIONAL SERVICES, LLC, KELLY MURPHY,
UNKNOWN D. McCONKEY, T ERRY MILLER, JUSTIN PHELPHS,

PHILLIP MELTON, FRANK HAND, TONYA LAMP, DONNA
FINLEY, AND ASHLEY WATTS, IN THETR OFFICIAL AND INDIVIDUAL CAPACITIES,

(Enter above the full name of the defendant or defendants in this action.)

COMPLAINT
I, Previous Lawsuits

CAUTION: The Prison Litigation Reform Act has resulted in substantia! changes in the ability of incarcerated
individuals to initiate lawsuits in this and other federal courts without prepayment of the required $350 filing fee.
Accurate and complete responses are required concerning your litigation history. Generally, a plaintiff's faiture
to accurately and completely answer the questions set forth below will result in denial of the privilege of
proceeding in forma pauperis and require you to pay the entire $350 filing fee regardless whether your complaint

 
  

is dismissed.
A. Have you ever filed a lawsuit while incarcerated or detained in any prison or jail facility? Yes FI Noo
B. If your answer to question A was yes, for each lawsuit you have filed you must atts) questions 1 through 5 below.
Attach additional sheets as necessary to answer questions 1 througiS below with regard to each
lawsuit. oO

1. Identify the court in which the lawsuit was filed. If it was a state court, identify the county in which the suit was
filed. If the lawsuit was filed in federal court, identify the district within which the lawsuit was filed.

See attached Complaint page 5&6 Previous Lawsuits by Plaintiff

 

2. Is the action still pending? YesO] No&
See page 5&6 of

 

a. If your answer was no, state precisely how the action was resolved:

attached complaint under Previous Lawsuits by Plaintiff

 

3. Did you appeal the decision? YesO NoX
4. Is the appeal still pending? YesQ No®&

a. Ifnot pending, what was the decision on appeal?_ S€e€ page 5&6 of attached

complaint under Previous Lawsuits by Plaintiff

5. Was the previous lawsuit based upon the same or similar facts asserted in this lawsutt?? Yes No &

If so, explain:

 

IL. Place of Present Confinement Lakeland Correctional Facility
og
If the place of present confinement is not the place you were confined when occurrence that is subject of instane lawsuit arose,

also list the place you were confined:

 

-]-
TT.

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Parties
A. Plaintifi(s)

Place your name in the first blank and your present address in the second blank. Provide the same information for any additional
plaintiffs. Attach extra sheets as necessary.
ROBERT LEE BOLES, JR.

3% #141 First Street, Coldwater, MI 49036

Name of Plaintiff
Address
B. Defendant(s)

Complete the information requested below for each defendant in this action, including whether you are suing each defendant in
an official and/or personal capacity. If there are more than four defendants, provide the same information for each additional

defendant. Attach extra sheets as necessary.

Name of Defendant #1 ARAMARK CORRECTIONAL SERVICES, LLC, et al.

See attached complaint pages 2 through 5 under Parties

for all the parties, positions and addresses.

Position or Title

Place of Employment

 

Address

 

Official and/or personal capacity?

 

Name of Defendant #2

 

Position or Title

 

 

Place of Employment

Address

 

Official and/or personal capacity?

 

Name of Defendant #3

 

Position or Title

 

Place of Employment

 

Address

 

Official and/or personal capacity?

 

Name of Defendant #4

 

Position or Title

 

Place of Employment

 

Address

 

Official and/or personal capacity?

 

Name of Defendant #5

 

Position or Title

 

Place of Employment

 

Address

 

 

Official and/or personal capacity?
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Statement of Claim

State here, as briefly as possible, the facts of your case. Describe sow each defendant is personally involved. Include also, the
names of other persons involved, dates and places. Do not give any legal-arguments or cae any cases or statutes, If you intend
to allege a number of related claims, number and set forth each claim im a separate paragraph. Use as much space as you need.
Attach extra sheets if necessary.

See attached Complaint paragraphs 21 through 134.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Relief

State briefly and precisely what you want the coust t do for you.
See attached complaiant pa#tdg#aph page 31.

 

 

 

 

 

 

 

 

 

Date Signature of Plaintiff

NOTICE TO P. FE

The failure of a pro se litigant to keep the court apprised of an address change may be considered cause for dismissal.

+ ae teers: November 2012)
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

ROBERT LEE BOLES, JR.,
Plaintiff,

VS. Case No.

Honorable:
ARAMARK CORRECTIONAL SERVICES,
LLC, KELLY MURPHY, UNKNOWN D. JURY TRIAL DEMANDED
MCCONKEY, TERRY MILLER, JUSTIN
PHELPS. PHILLIP MELTON, FRANK
HAND, TONYA LAMP, DONNA FINLEY,
AND ASHLEY WATTS, IN THEIR OFFIC-
IAL AND INDIVIDUAL CAPACITIES,

Defendants.

 

COMPLAINT
NOW COMES ROBERT LEE BOLES, JR., the Plaintiff, in Pro se,
pursuant to the provisions of Title 42 U.S.C. §1983, the Prison Li-
tigation Reform Act of 1996, and the Eighth Amendment of the United
States Constitution, hereby aubmit his verified complaint upon in-
formation and belief, and at all times hereinafter mentioned,
alleges constitutional violations against all of the named Defen-

dants. Plaintiff's complaint states as follows:
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PARTIES

l. Plaintiff, Robert Lee Boles, Jr., at all times relevant
was @ prisoner at Lakeland Correctional Pacility(hereinafter re-
ferred to as “"LCF"), located at 141 Pirst Street, Coldwater, Michi~
gan 49036. Plaintiff is a resident of the State of Michigan.

2. Defendant Aramark Correctional Services(hereinafter re-
ferred to as “Aramark"), was at all times relevant contracted with
the State of Michigan to provide Comprehensive Food Services for
Prisoners of the Michigan Department of Corrections(hereinafter re-
ferred to as "MDOC"). This private entity located at 1101 Market
Street, Philadelphia, PA 19107 agreed to its contract with the
State of Michigan on October 1, 2013 to begin, without
interruption, on December 8, 2013 ta September 30, 2016, to perform
a traditional state function. It is being sued in its official and
individual capacities.

3. Defendant Kelly Murphy was the Food Service Director for
Aramark at LCF, located at 141 First Street, Coldwater, Michigan,
between the period of December 2013 to February 1, 2014. He was
responsible in making sure his staff followed the standards for
prisoner meals relating to therapeutic meal preparation and
service, for ordering appropriate food for therapeutic diet menus,
and the overall operation of food service at LCF. He is being sued

in his official and individual capacities.
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4. Defendant Unknown D. McConkey was the Food Service
Director for Aramark at LCF, located at 141 First Street,
Coldwater, Michigan, between the period of February 6, 2014 to
March 2014. She was responsible in making sure her staff followed
the standards for prisoner meals relating to therapeutic meal
preparation and service, for ordering appropriate food. for
therapeutic diet menus, and the overall operation of food service
at LCF. She is being sued in her official and individual
capacities.

5. Defendant Terry Miller was the Food Service Director for
Aramark at LCP, located at 141 First Street, Coldwater, Michigan,
between the period of April 2014 to July 18, 2014. She was
responsible in making sure her staff followed the standards for
prisoner meals relating to therapeutic meal preparation and ser-
vice, for ordering appropriate food for therapeutic diet menus, and
the overall operation of food service at LCF. She is being sued in
her official and individual capacities.

6. Defendant Justin Phelps was the Food Service Director for
Acamark at LCF, located at 141 First Street, Coldwater, Michigan,
between the period of July 31, 2014 to March 2015. He was
responsible in making sure his staff followed the standards for
prisoners meals relating to therapeutic meal preparation and ser-
vice, for ordering appropriate food for therapeutic diet menus, and
the overall operation of food service at LCF. He is being sued in

his official and individual capacities.
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7. Defendant Phillip Meiton was the Food Service Director for
Aramark at LCF, located at 141 First Street, Coldwater, Michigan,
between the period of March 2015 to June 1, 2015. He was
responsible in making sure his staff followed the standards for
prisoners meals relating to therapeutic meal preparation ‘and
service, for ordering appropriate food for therapeutic diet menus,
and the overall operation of food service at LCF. He is being sued
in his official and individual capacities.

8. Defendant Frank Hand was at all times relevant the Lead
Line Food Service Supervisor for Aramark at LCF, located at 141
First Street, Coldwater, Michigan 49036. He is being sued in his
official and individual capacities.

9. Defendant Donna Finley was at all times relevant a Line
Food Service Worker for Aramark at LCF, located at 141 First
Street, Coldwater, Michigan 49036. She is being sued in her
official and individual capacities.

10. Defendant Tonya Lamp was at all times relevant a Line Food
Service Worker for Aramark at LCF, located at 141 First Street,
Coldwater, Michigan 49036. She is being sued in her official and
individual capacities.

ll. Defendant Ashley Watts was at all times relevant a Line
Food Service Worker for Aramark at LCF, located at 141 First
Street, Coldwater, Michigan 49036. She is being sued in her

official and individual capacities.
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12. At all times relevant to the events described herein, all
the Defendants have acted under color of state law.

13. Plaintiff will be responsible for serving all of the
above-mentioned Defendants since he has paid the full cost of
filing fee($400.00),. upon the filing of this Complaint. The
prisoners at LCF were informed at the Warden Forum that the name
and address of Aramark's registered agent is its Philadelphia
address.

14. Since Aramark is registered with the State of Michigan
Secretary of State, with a possible registered agent for service of
process in Michigan, Plaintiff has no way of obtaining the
registered agent for service of process in Michigan, and he ask
this Court to furnish the information to him, in it exist, so there
will not be any delay in serving the Defendants once the complaint
is processed by the Court.

JURISDICTION

15. This Court has jurisdiction over this case pursuant to 42
U.S.C. §§1331 and 1334, as well as Title 42 U.S.c. §1983. ‘This
Court is vested with subject matter and personal jurisdiction.

This cause of action arose in the Western Diatrict of
Michigan. Therefore, venue is proper under 28 U.S.C. §1391(B).

PREVIOUS LAWSUITS BY PLAINTIFF

 

16. Robert Lee Boles, Jr. v Darnell Jackson, Case No. 14-cv-
14074, filed in the United States District Court, Eastern District
of Michigan, before Judge Robert H. Cleland. The case was

dismissed on June 30, 2015.
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17. Robert Lee Boles, Jr. v Marcia Sorensen, Case No. 2:1l-cv-
10892, filed in the United States District Court, Eastern District
of Michigan, before Judge Arthur J. Tarnow. A settlement agreement
was reached July 2014.

18. Robert Lee Boles, Jr. v Gary Lewis, et al., Case No. 1:07-
cv-277, filed in the United States District Court, Western District
of Michigan, before Judge Paul L. Maloney. A settlement agreement
was reached on October 6, 2010.

19. Robert Lee Boles, Jr. v Ellen Campbell, et al., Case No.
03-cv-72073, filed in the United States District Court, Eastern
District of Michigan, before Judge Bernard A. Friedman.
Defendants’ motion for summary judgment was granted, Plaintiff
filed an appeal, and the district court's decision was affirmed in
Case No. 98-1359.

20. Robert Lee Boles, Jr. v William Schnarrs, et al., Case No.
87-cv-74666, filed in the United States District Court, Eastern
District of Michigan, before Judge Barbara K. Hackett. The district
court granted the Defendants' Motion for Summary Judgment. An
Appeal was taken by the Plaintiff, and the Sixth Circuit Court of
Appeals vacated the judgment and opinion. On remand, a settlement

agreement was reached on February 5, 1992.
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FACTUAL ALLEGATIONS

 

21. From the period of 2001 to the present, Plaintiff's medical
provider has prescribed to him a 2 gm low sodium diet detail.

22. Plaintiff's diet detail requires a therapeutic diet tray
that's independent of the meals prepared for general population
prisoners base on individualized diet menus written by the Bureau
of Health Services(hereinafter referred to as "BHCS").

23. The Michigan Department of Corrections(hereinafter referred
to as "MDOC") diet manual is written by the BHCS. The manual
outlines what food is allowed and what fool to avoid by food service
personnel when preparing medical diet meals.

24. Prior to December 8, 2013, the Foot Service Department was
ranned by state workers, and Plaintiff's therapeutic Wiet was pre-
pared and servel according to the therapeutic diet menus.

25. During the first week on the job at LCF Aramark employees
served the Plaintiff appropriate food items for 2 gm low sodium
diet, however, when they start running out of the UWiet food
purchased by the state employees all the problems begin.

26. During the third week of January 2084, Plaintiff communi-
cate with Mr. K. Murphy, Aramarki'is Fool Service Director at LCF
about his employees failure to serve appropriate food items on low
sodium diet trays.

27. Specifically, where salt free cheese, turkey and unbreaded
fish was no longer available, Plaintiff ask Mr. Murphy how long it

woul be for the i... to become available.
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28. Mr. Murphy did not have no idea when the products woulld be
coming in. He informe Plaintiff that he was having problems gett-
ing the items because they were not on the AramarH allowable item
order list.

29. Plaintiff informe Mr. Murphy that his staff have been
serving him food off the regular line that had alot of tomatoes,
ketchup, peppers, spices, rich sauces and grease in it.

30. On another occasion Mr. Murphy informed Plaintiff that
Aramark personnel over him wasn't approving his orders for diet
products.

31. Mr. Murphy soon thereafter resigned from his position as
Food Service Director for Aramark at LCF, anl in February 2014, D.
McConkey took his place.

32. A few days after D. McConkey arrived at LCF, Plaintiff got
a chance to talk to her about the ongoing problem of Aramérk's staff
continuing to place inappropriate food items from the regular lline
on his low sollium diet tray.

33. Plaintiff express to D. McConkey tlmat he hall been diagnois
by the Woctor with reflux esophagitis and gastroesophageal reflux
Hisease over one year ago, that it was under control but he feared
his health was at risk Wue to the inappropriate items described in
paragraph 29 being placed on low soflium diet tray as substitutes for
the unbrealfei fish, salt free turkey and cheese and sometimes just
for the basic meal.

34. D. McConkey told the Plaintiff that she would get with her
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supervisors to try to find out the reason for the delay in diet

orders arriving, and she said that she would talk to her staff about
the inappropriate food items being placed on Plaintiff's diet tray.

35. D. McConkey resigned from her position as Food Service
Director for Aramark at LCF soon thereafter.

36. Terry Miller arrived at LCF as the Food Service Director
for Aramark March 2014.

37. Plaintiff saw T. Miller in food service and got a chance to
talk to her about the ongoing problem with Aramark personnel
continuing to place inappropriate food items from the regular line
on his low sodium diet tray.

38. Specifically, Plaintiff told T. Miller that the food was
filtered with alot of tomatoes, ketchup, peppers, spicy flavors,
rich sauces, and the meat was very greases.

39. Plaintiff told T. Miller that the low sodium diet does not
allow the items mentioned in paragraph 38, and the fact that he have
been diagnois with acid reflux it pose a risk to his health.

40. TT. Miller informed the Plaintiff that she would look into
why it was taking so long for the low sodium cheese, turkey and
unbreaded fish to be ordered. She further informed the Plaintiff
that she would instruct her staff to not use items off the regular
food line as substitute for diet items.

41. During the last week of March 2014 Aramark ordered from the
store low sodium turkey and unbreaded fish but within one month it

was gone, and Aramark started’ substituting those items with food off
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the regular line again.

42. Early May 2014, T. Miller left her position as Food Service
Director at LCF.

43. R. Copeland came to LCF as the interim Director of Food
Service for Aramark until July 2014 when Justin Phelps took over as
the Director.

44. As a result of the ongoing problem of Aramark employees
placing food items into Plaintiff's diet tray from January 2014 to
April 2014, and no appropriate action being taken by the numerous
food service directors when the problem was brought to their atten-
tion, as described in paragraphs 21 through 42, Plaintiff suffered
from episodes of acid reflux, belching, acid in throat that caused
difficulty in breathing, sore throat, unstoppable hiccouphs,
inability to sleep for days, and finally being sent to local
hospital for treatment.

45. One example of this fact is that during the period of
January 2014 to March 2014, when spaghetti, sloppy ‘joe, meatballs,
pizza, hamburger cabbage cassrolse, and salbery meat was served,
these items was filled with tomatoes, ketchup, peppers, and rich
sauces that came off of the regular line.

46. Another example of this fact is that during the period of
January 2014 to March 2014, the green beans, and collard greens had
hot peppers in them.

47. Another example of this fact is that the poultry stew and
noodle meals were full of tomatoes and peppers from January 2014 to

March 2014.

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48. As a result of the facts as alleged in paragraphs 44
through 47, Plaintiff had hiccoughs from March 28, 2014 to March 31,
2014, causing him to not beable to sleep, experienced anxiety,
distress, difficulty in breathing, and being sent to health service
around 4:51 PM, on March 31, 2014.

49. Plaintiff saw jennifer J. Meyer, RN. She in turn contacted
medical provider Margaret Ouellete PA, by phone, and told her what
the problem was.

50. Ouellette instructed Ms. Meyer that a medical order would
be issued for flexeril 10 mg PO, TID for 5 days and a detail to go
to medline to pick up medicine daily.

51. When Plaintiff returned to the unit he continued to ex-
perience belching, food trying to come up, anxiety, hiccoups, and
difficulty in breathing; plaintiff had to return to health service
around 9:28 PM, and he saw Ms. Meyer again.

52. Plaintiff temperature was 101.3, and he had a fever. Ms.
Meyer informed Plaintiff that his lungs was bil with rales. She
notified Ouellette again. The nurse was instructed to give
Plaintiff 2 PO tylenol 325 mg. 2-25 mg Atenolol, and to give
Plaintiff an other flexeril 10 mg at 2300(11:00 PM).

53. Plaintiff returned to the unit and went back to health ser-
vice to take the medicine. Plaintiff informed the nurse that he
wasn't feeling any better, that he was still belching and was unable
to sleep.

54. Plaintiff was returned back to the unit and told to notify

health service if it get any worser.

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55. On April 1, 2014, at around 2:39 AM, housing unit staff
contacted health service, and informed them that Plaintiff condition
had gotten worser where he was having episodes of trouble breathing.

56. Plaintiff returned to health service and saw Ardith Kirzan,
RN. Plaintiff told her that the medicine he received at 11:59 made
him sleepy, but when he laid down, even with his head propped upon a
pillow, the belching and hiccoughs caused difficulty in breathing,
and he had to get out of bed and sat ina chair. Plaintiff told the
nurse that he was exhausted and had not slept in three days.

57. Nurse Kirzen made a call to Ouellette and informed her of
Plaintiff's condition. Ouellette instructed the nurse to give
Plaintiff IM Rocephin. Plaintiff was observed for around ten
minutes and returned to unit with a one day lay in restructed from
all activities.

58. On April 1, 2014, at around 12:27 PM, Plaintiff was called
to health service for evaluation of hiccoughs by Ouellette.
Plaintiff was positive for chills, night sweat, cough, dyspnea and
acid reflux. Ouellette determined that flexeril did not give relief
from the hiccough. She received approval from the RMO for Baclofen,
and informed Plaintiff to contact health service if the hiccoughs
get worser.

59. On April 3, 2014, at about 6:45 AM, Plaintiff returned to
health service. He saw Deanna K. Earl, RN. Plaintiff told the nurse
that he have had hiccoughs since 5:30 PM, and that it begin after he

ate the evening meal.

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60. Plaintiff told nurse Earl that he wasn't able to sleep all
night, he experienced difficulty in breathing, belching and his
throa¢ and abdominal was very sore.

61. Plaintiff saw Ouellette at about 7:09 AM. She issued
medical orders laying Plaintiff in from work and any other
activities from April 3, 2014 to April 8, 2014.

62. Plaintiff's condition got worser, and he was taken to
health service at around 12:40 AM. Plaintiff saw Randy Lindstrom,
RN. He evaluated the Plaintiff and called the outside medical
provider. Lindstrom received orders to send the Plaintiff out to
Community Health Center emergency room for treatment.

63. Plaintiff received treatment for his conditions, and was
returned to LCF at about 4:34 AM.

64. On May 7, 2014, Plaintiff filed administrative grievance
identifier number LCF-2014-05-0572-09E against Aramark.

65. In the section that ask what attempt did you make to
resolve this issue prior to the writing of grievance, it is stated:
"There has been ongoing problems with Aramark. In December 2013, I
talked to Murphy, in February 2014, I talked to D. McConkey about
them not having low sodium fish and salt free turkey, as well as
there failure to give me the food required in accordance with menus.
In March 2014, they started serving the fish and turkey that is
required, however, they continue to serve inappropriate food for low
sodium. That the diet trays are unsantitized to eat out of, and the

serviing of bread is always unfresh. On May 4,5, and 6, 2014, the

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diet trays were dirty, I said something to Coffrin, and she told me
to file a grievance. Food is being prepared with grease and sauces
that is staining the tray."

66. In the grievance statement, it is stated: "Authority: PD
04.07.101, Therapeutic Diet Services and Eighth Amendment. This has
been an ongoing problem with Aramark since they arrived in December
2013. For months I did not receive low sodium fish and turkey, and
they finally got it in March 2014. The meals are being prepared with
items that don't suppose to be included in low sodium diet. The food
is very greases and prepared with hot peppers and rich sauces. The
past week the diet trays been dirty from stains in the trays that
want come out and food stuff from previous meals. It was agreed at
the Warden's Forum prior to Aramark coming here that diet trays will
be thrown alway when they get in the condition they are presently
in, but when bringing this to staff's attention they look at me
without a response as if there is nothing they can do about it.
I've brought to their attention about the pepper, rich sauces and
meat products being very greases, and they look at me like they
can't do anything about it. This past week I was told by staff
Coffin, I showed her the tray my food was in, to file a grievance
on May 6, 2014. I have experienced acid reflux that caused me to go
to the hospital as a result of the items they are putting in my diet
menus when it's inappropriate. A look at the therapeutic diet policy
and the diet manual for low sodium is being violated as well as the
Eighth Amendment where I'm being forced to eat food from dirty trays

every day. Recommended solution: That Aramark take on their

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responsibility and correct these ongoing problems.

67. The Respondent failed to respond to the grievance within
the time allowed by grievance coordinator so Plaintiff made a
request for Step II grievance appeal.

68. On June 8, 2014, Plaintiff filed Step II grievance appeal,
stating the following: "The step one grievance wasn't responded to
by Aramark staff within the time permitted by policy. They continue
to disregard my pleas to correct their errors, and to place
appropriate foods in my low sodium prescribed diet tray. The MDOC
monitors of this company is obviously just monitoring the general
population menus. A review of low sodium diet manual clearly
support that Aramark is in violation of policy. I talked to
dietitian Rogers about this problem acouple weeks ago, we looked at
her diet manual which supported my claim against Aramark that they
are placing inappropriate items in my low sodium diet tray. Aramark
are in breach of its contract where they are disregarding
therapeutic diet policy. This grievance was placed in the mailbox to
T. Stepp on 6/8/14."

69. On June 5, 2014, Plaintiff filed a second grievance, and he
was given identifier number LCF-2014-06-0682-09D. In the section
that ask what attempt did you make to resolve this issue prior to
the writing of grievance, it is stated: "On June l, 2014, I talked
to food service personnel Hand about improper food being placed in
my low sodium diet trays for the past two weeks. He assured me that

it would be corrected after I showed him contract No. 07184300009 at

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page 164-171, that clearly indicated no tomatoes or ketchup, etc.,
shall be included in low sodium therapeutic diets. On June 3,4,-5,
2014, these items continued to be placed in my food. I showed
Finley my spaghetti during the noon meal full of tomatoes and
kitchup which she told me to file a grievance."

70. In the grievance statement it states: "Authority: PD
04.07.101, Therapeutic Diet Services, Breach of Contract, and the
Eighth Amendment. Aramark Correctional Services and all of its
employees are in breach of contract where they continue to prepare
low sodium diet in violation of MDOC's Diet Manual. The contract
outlines what foods are to be avoided when preparing diet menus. I
brought this to the attention of Watts, Corrigan, Finley, Lamp, and
Hand between May 12, 2014 to date 6-5-14, and no action been taken.
On June 1, 2014, when ignored by Lamp, Corrigan and Finley, Mr. Hand
talked to me, and told me to go back to the unit to get paperwork.
I got my copy of the contract and showed it to Hand. It showed what
foods to avoid when preparing low sodium meals which tomatoes and
ketchup was on it. He asked me for a copy of the diet manual
relating to low sodium diet and mentioned that he was going to show
it to acting supervisor Copeland the following morning. I let him
run off a copy. Hand further told me that items indicated in the
manual will no longer be included when preparing diet tray, however,
on June 3, kitchup and tomatoes was in the sloopy joe. On June 4,
the grill cheese was prepared with american cheese, not salt free
cheese, and on June 5, 2014, the spaghetti was full of ketchup and
tomatoes. As a result of these meals being full of salt I've

experienced headaches, and dizziness. Also, belching and _ food

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coming up due to acid reflux, and I constantly worried about being
taken back to the hospital due to an episode of nonstop hiccups.
I've not eatten sometimes but I have to other times to not starve."

71. fT. Stepp, Greivance Coordinator at LCF gave June 30, 2014,
as the due date to respond to the greivance outlined in paragraphs
69 and 70.

72. On June 16, 2014, Defendant Hand responded to both
greivances.

73. Regarding grievance identifier LCF-2014-05-0572-09E
Defendant Hand states, "Spaghetti and pasta meals need to avoid
tomatoes."

74. Regarding greivance identifier LCF-2014-06-0682-09D
Defendant Hand states, "I spoke with Mr. Boles we discussed the
items to avoid in the diet manual. No diet or therapeutic menu
should come off the mainline. Diet and therapeutic diets should be
prepared by diet cooks only. Mr. Boles stated that other Aramark
supervisors say there is nothing they can do about it."

75.6 On June 20, 2014, the step II Respondent in greivance
identifier LCF~2014-05-0572-09e state that the step I response was
supported at step II.

76. On June 25, 2014, Plaintiff filed a step III appeal,
Stating, "Step I response did not occur within the due date. A step
II appeal was requested, I received it on June 8, 2014, and filed
it. On June 16, 2014, Mr. Hand interviewed me, and I showed him the

low sodium diet manual that shows tomatoes are not to be included in

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low sodium therapeutic diet. Mr. Hand agreed and stated in his

response that “spaghetti and paste meals need to avoid tomatoes."
The second step response appears to disregard Mr. Hand's step I re-
sponse and the contents of my step I grievance. I grieved that
Aramark was preparing low sodium diet trays with items contrary to
PD 04.07.101. The warden disregarded the issue, and state that I
don't have an acid-reflux diet. Mr. Hand admitted that tomatoes
are to be avoided, policy states they are, and Aramark should be
found to have violated policy and their contract. Sent 6/25/14."

77. On September 30, 2014, the Step III Respondent stated, "The
response you received at Step I and II reflect that your issues
were in fact considered and appropriately responded to at the faci-
lity level. The grievance identifier has added the capital "A" at
the end of the grievance, indicating an Aramark concern."

78. On July 11, 2014, the Step II Respondent in grievance iden-
tifier LCF-2014-06-0628-09d stated, "The Step I response is sup-
ported at Step II. Copy of the issue will be sent to Aramark FS
Director for review."

79. On July 21, 2014, Plaintiff filed a Step III appeal stat-
ing, "It is not clear whether or not the Step II response is direc-
ting Aramark to discontinue the violation of therapeutic diet,
therefore, this Step III appeal is filed for appropriate action.
They continue to place high concentrations of tomatoe products in
my food and the hamburger cabbage casserole given out this week
came directly off the regular line. Greivance sent out July 21,
2014" On September 30, 2014, the Step III Respondent denied the

grievance on the merits.

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80. Plaintiff went through all three steps of the grievance
procedure on both grievances, and the issues raised against the
Defendants was addressed on the merits.

81. After the june 16, 2014 interview on greivances with
Defendant Hand, during the evening meal sloppy joe was on the
menu, and it had alot of tomatoes and ketchup in the meal.

82. Plaintiff took his tray tack up to the serving line, and
showed lit to Aramark line worker Tonya Lamp. Plaintiff told her
that earlier that day Hand had agreed not to place tomatoes in
spaghetti and pasta meals. Lamp informed the Plaintiff that Hand
had instructed her to substitute the spaghetti, sloopy joe and
pasta meals. She gave the Plaintiff peanut butter and jelly as a
substitute.

83. On June 18, 2014, during the lunch and dinner meal
Plaintiff's received approprate substitutes.

84. On June 19, 2014, during the lunch meal pizza was on the
menu. Aramark gave Plaintiff pizza with regular cheese, red
peppers and tomatoes all over it.

85. Plaintiff took the tray back to the serving line and
showed it to food line worker Lamp.

86. Plaintiff informed Lamp that he could not eat the meal
without getting sick. Lamp told the Plaintiff that Hand

instructed her that he had to eat what's on the diet tray.

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87. Plaintiff asked Lamp to be allowed to speak with Hand,
she went to the back and got him.

88. When Hand came out from the back to the serving line
Plaintiff ask him why was he doing this when it had been agreed
on June 16, 2014 that tomatoes would be avoided.

89. Plaintiff told Hand that he wasn't going to eat the
pizza, and he requested a substitute. Hand refused to give the
Plaintiff a substitute so he threw away the meal and left out of
food service.

90. On June 19, 2014, when Plantiff received his diet tray
the meal was spaghetti. The tray was full of tomatoes, red
peppers, ketchup and was the same meal prepared on the regular
line.

91. Plaintiff took the tray tack to the serving line, and
showed it to food line workers Lamp and Finley. When Plaintiff
attempted to express himself, he was cut off by Lamp and she said
that they didn't want to discuss the matter.

92. Finley told the Plaintiff that Hand told them that
Plaintiff have to eat what they give him.

93. Plaintiff threw the tray away and left the chow hall.

94. On June 20, 2014, during the lunch meal hamburger
cabbage casserole was being served. This meal was prepared by
the general population cooks full of red peppers, tomatoes,
cabbage and very little meat in it.

95. Plaintiff got his tray and took it back to the serving

line. Plaintiff ask for a substitute and Lamp told him that he

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have to eat what lis given to him, and there will not be any
substitute. Plaintiff threw the tray away and left food service.

96. On June 20, 2014, while at a doctor's appointment with
Dr. Davis, Plaintilfé complained to him about food service
personnel not following the low sodium diet protocol, and that
they were trying to force him to eat food he cannot eat. Plain-
tiff asked the doctor to intervene, the doctor told the Plaintiff
to file a greivance, and Plaintiff told the doctor. that
greivances had already been filed.

97. On July 26, 2014, while at another doctor's appointment
with Dr. Davis the doctor notice that Plaintifff had losted eight
pounds. He asked Plaintiff about the weight lost, and Plaintiff
informed him that Aramark employees was not placing appropriate
items on his diet tray and he was not eatting because he did not
want to get sick and go to the hospital again.

98. On October 10, 2014, Plaintiff sent a health care kite
to dietitian Rogers stating, “Dietitian Rogers Aramark food
service continues to place high quantities of tomatoes in the 2
gm low sodium diet trays. I discussed this with you in May 2014,
and you informed me that you would discuss this with them. I've
missed alot of meals to avoid the tomatoe products, and have
losted about nine pounds."

99. Randy Lindstrom, RN responded to the kite indicating the
kite was forward to the dietitian.

100. On October 15, 2014, Rogers responded to the kite indi-

cating to the Plaintiff that he will be placed on callout so she

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can evaluate the problem.

101. On November 7, 2014, Plaintiff sent Mrs. Rogers an other
kite. He informed Mrs. Rogers that the lunch meal suppose to
have been hamburger cabbage casserole, but Aramark placed on low
sodium diet trays tomatoe paste casserole. Plaintiff informed
Mrs. Rogers that he could not eat the food without getting sick,
and ask her to intervene.

102. On November 8, 2014, Mrs. Rogers responded to
Plaintiff's kite, stating, “We have monitors from the state that
are in charge of monitoring problems if they are incorrect and
changing them. This is not thé€dietitian job.Sorry.”

103. Plaintiff sent Mrs. Rogers another health care kite
informing her that Aramark refuse to honor low sodium diet when
placing very high contents of tomatoes and sauces in low sodium
diet, and substitut ing diet menu items with food off the regular
line. Plaintiff ask Mrs. Rogers to modify his low sodium diet to
add reflux

104. On November 20, 2014, Plaintiff was called to Mrs.
Rogers office to discuss the ongoing problem he was having with
Aramark. He told Mrs. Rogers that Aramark continues to place
alot of tomatoe products in his 2 gm low sodium diet tray, he do
not want to suffer uncontrollable hiccoughs, not getting sleep,
experiencing difficulty breathing and he would appreciate her

modiifying his diet to include reflux.

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105. Mrs. Rogers informed the Plaintiff that in light of the
fact that Armark don't suppose to be placing tomatoe products
and hot spices in the 2 gm low sodium diet trays she would
modify the diet to include reflux.

106. When Plaintiff went to the chow hall to get his evening
meal the diet had been modified. Plaintiff received his tray
but he did not have any bread on it. Plaintiff went back to the
serving line and ask food service line worker Watts for bread,
and she refused.

107. On November 20, 2014, Plaintiff filed administrative
grievance identifier LCF-2014-11-1278-17b against Watts. In the
section that ask what attempt did you make to resolve this issue
prior to the writing of grievance, it states, “I went to the
line and discussed with Aramark employee Watts the matter of no
bread being placed on my diet tray to eat with hambuger. She
told me that it wasn't on the menu and I wasn't going to get
anything.”

108. In the grievance statement it states, "Authority: PD
03.03.130, "Humane Treatment & Living Condition for Prisoners,“
lst Amendment and 14th Amendment. Several greivances was filed
against Aramark employees for not following low sodium diet,
including Watts. On 11/20/14, I had a consultation with the
dietitian Rogers. She modified my low sodium diet to add reflux
So no more tomatoe products would be included in my diet tray,
although the low sodium diet did not permit those products.

When I went to the evening meal I received 3 oz of hamburger and

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bread wasn't checked off. Prisoners who been getting hamburgers
for this menu during the past 11 months the bread item wasn't
checked off, yet they were given bread to go with hamburger.
One of the prisoenrs at the table I was eatting at had hamburger
and his menu did not include bread but Aramark gave him bread.
I approached several prisoners who had hamburger on their menu
and they all received a bun. I preceeded to the line and asked
Watts could I get a bun to go with my hamburger. She told me
that you been complaining about us since we been here, and since
your menu does not include bread item I'm not going to give you
any." I informed her that all the prisoners who received
hamburgers on their tray and bread wasn't included but they gave
them a bun. I asked her why was I signled[sic] out and she told
me that all she was concern with was my menu. Where grievances
was filed against Watts, her actions on 11/20/14 was in
retaliation because there is no other bases for her to single me
out to deny me a peace of bread when she allowed all the other
prisoners who did not have bread on their menu to receive same.
Her actions clearly violates the class of one theory under the
14th amendment where prisoners like me(menu hamburger) had been
receiving bread in their tray since Aramark came to the
facility, even though, it's not marked off as an item. I do not
wish to be interviewed by Aramark, and a response in writing
will be appropriate."

109. On December 16, 2014, in step I greivance reponse

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the respondent Frank Hand states, "Every inmate during a
hamburger or hot dog meal is entitled to a bun or bread with
there sandwich. Mr. Boles was only trying to get what was
rightfully his. Mr. Boles has been patient with us during the
time of transition & his personal diet has not been right since
we have taken over. Mrs. Watts needs to be tal xed to about her
interaction with Mr. Boles."

110. Plaintiff signed off on grievance identifier LCF-2014-
11-1278-17b as. being resolved at the administrative level.

111. From the period of July 2014 to March 2015, Justin
Phelps was the Food Service Director of Aramark at LCF.

112. On August 22, 2014, the Warden's Forum through the Pood
Service Committee raised the following issues with Mr. Phelps:
1) why prisoners on the diet line are being served there meals
in food stained diet trays? Mr. Phelps indicate that the trays
will be replaced soon; and 2) why prisoners on the diet line are
being served there meals in dirty diet trays? Mr. Phelps gave
the same answer, they will be replaced soon.

113. On October 15, 2014, the Warden's Forum th ‘rough the
Food Service Committe raised again the question about the dirty
and stained trays. Mr. Phelp informed them that the prisoners
working in food service will clean them.

114. From the period of May 7, 2014, when Plaintiff raised
the issue in greivance identifier LCF-2014-05-0572-09E about the

diet trays being dirty, and being forced to eat meals in stained

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trays this has continued and it have got worser where the trays
still have not been replaced.

115. In March 2015, Phelps left LCF as Food Service Director
and went to another facility which P. Melton came in to take his
place.

116. Plaintiff talked to P. Melton about the ongoing problem
with Aramark ordering appropriate items for low sodium diet, and
the fact that salt free turkey and cheese had not been available
for over six months.

117. On the scheduled days for salt free turkey and cheese
Aramark has been substituting the items with food off the
regular line.

118. Mr. Melton informed the Plaintiff that the low sodium
¢heese and turkey been ordered sometime ago but it have not come
in.

119. On May 27, 2015, the Warden's Forum through Health Care
Committee helded a meeting with the Health Unit Manager(HUM) )
Betsy Spreeman. The Committee raised several issues relating to
low sodium diets, and Aramark's failure to serve the meals in
compliance with prescribed diet order.

120. Issue #2 raised the following: “Prisoners who were pre-
scribed specific 2 gram low sodium diets are not being served
meals in complaince with said order. Food service is serving
low sodium items that do not meet the 2 gram requirement. They

are under the impression that because the packaging that the

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item comes in says low sodium it meets the requirements of the
diet regardless of the sodium level. One example of this is
they are serving them beef noodle casserole from the general
population serving line, the roast beef in that meal is low
sodium but the sodium level is nowhere near the 2 gram
requirement of their specific diet. The reason given by Food
Service is that the meal slip provided to them by the Dietician
for the beef noodle casserole meal does not specify 2 gram low
sodium or even low sodium, this is definitely a typographical
error because all of these prisoners other meals specify 2 gram
low sodium. Now that Health Service is aware of this situation
the population requests clarification and correction of this
error with both the Dietician and the Food Service Director."
121. The reponse to issue #2: "HUM Spreeman has forwarded
these concerns to the Lead Dietician and has also requested a
kitchen audit. HUM Spreeman will follow-up and report findings
when available. After the meeting today, HUM Spreeman along
with Inspector Morrison went to the main chow hall and talked
with Food Service Manager Mr. Melton. It was discovered by HUM
Spreeman that the items(low sodium cheese, no sodium turkey and
other items needed for 2 gm low sodium diet and renal diets) in
questioin were not previously on the allowable item order list.
Mr. Melton filed the appropriate paperwork to have these items
added to the approved list. These items were added, ordered by

Mr. Melton and should have been delivered teday 5/27/15. How-

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ever, when the shipment arrived these items were not delivered,
in which Mr. Melton immediately contacted his supervisor and
made arrangements for him to go and pick up the needed items
directly from the store. Inspector Morrison asked that Mr.
Melton contact HUM Spreeman once the items in questioin were on
site. Mr. Melton agreed. HUM Spreeman will continue to monitor
and follow up as needed."

122. Issue #3 raised the following: The population requests
that the dietician provide the required minimum service outlined
in PD 04.07.101 Section (E), specifically, subsections:

4. Review and approve menu substitutions to the stan-
dardized therapeutic diet menus.

5. Conduct audits of therapeutic diet lines and trays.

7. Provide technical assistance to Food Service de-
partment.

123. The response to issue #3: “4. Will follow up with Mr.
Melton on education for appropriate substitutions. HUM Spreeman
talked to Mr. Melton in regards to substitutions and he informed
HUM that he is currently working on getting the appropriate
items where substitutions would be used minimally: 5. This is.
being done, but there is not set schedule. Per Dietician Rogers, °
she audited the kitchen on 5/22/15 and noted undocumented
substitutions used and reported it to the Lead Dietician and
-also the LCF contact monitors. A request for the LCF contact
monitors to look further into this was requested; 7. HUM
Spreeman will look into educational training material for pri-

soners working in the kitchen, and also Aramark staff."

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124. On June 1, 2015, Phillip Melton, Aramark Food Service

Director came to work at LCF, and he resigned.

125. On or about June 8, 2015, Aramark personnel obtained low
sodium turkey from the store, and it was placed on the June 10,
2015, dinner meal low sodium diet trays.

126. By June 24, 2015, during the turkey stir frey meal Aramark
had ran out of low sodium turkey, and they placed items off the

regulac line on low sodium diet trays.

CLAIMS FOR RELIEF

127. Plaintiff support the following claims by reference to the
previous paragraphs of this complaint.

128. The Defendants Aramark, Kelly Murphy, D.McConkey, Terry
Miller, Frank Hand, Justin Phelps, Phillip Melton, Tonya Lamp,
and Donna Finley was aware of Plaintiff's low sodium dietary
prescription, that Plaintiff diet was inadequate in relation to
his medical needs, that the Defendants assumed the obligation to
provide prescribed medical diet, and there actions constituted de-
liberate indifference to Plaintiff's serious medical needs in
violation of the Eighth Amendment.

129. The Defendants Aramark, Kelly Murphy, D. McConkey, Terry
Miller, frank Hand, Justin Phelps, and Phillip Melton had a policy
to serve Plaintiff food that made him sick, ill, and caused weight
lost. At the time Aramark was serving the inappropriate food pro-

ducts to Plaintiff it was aware that the product posed a substan-

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tial risk of serious harm to Plaintiff's health, or that Aramark
was aware of facts from which this inference could be drawn, and
there is a series of events from which it can be infer the exis-
tence of a policy that resulted in a violation of Plaintiff's
Eighth Amendment Constitutional rights.

130. The Defendants Aramark, Justin Phelp and Phillip Melton
failed to replace diet trays stained with food from previous meals
that is unsanitary and being used by as many as 95 inmates per
meal from the period of May 2014 to the present. This ongoing and
repeated conduct by the Defendants infer the existence of a policy
that resulted in a violation of Plaintiff's Eighth Amendment
Constitutional rights.

131. That Defendant Watts action on November 20, 2014, as out-
lined in paragraphs 106 through 110 was motivated by Plaintiff's
greivances LCF-2014-05-0572-09EF and LCF-2014-06-0682-09D, and was
in retaliation , and in violation of the First Amendment of the
United States Constitution.

132. Defendant Watta actions as described in paragraphs 106
through 110 deters a person of ordinary firmness from engaging in
protected conduct, and is adverse action that was taken against
the Plaintiff.

133. The chronology of events outlined in paragraphs 106
through 110 demonstrate a causal connection between the protected

conduct of the Plaintiff, and the adverse action of the Defendant.

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134. That Defendant Watts action on November 20, 2014, as out-
lined in paragraphs 106 through 110 violated the class of one
theory under the Fourteenth Amendment of the United States Con-
stitution.

RELIEF

WHEREFORE, for the reasons stated, this Court should:

A. Accept jurisdiction of this case;

B. Declare that the rights of Plaintiff was violated by the
actions of the Defendants;

c. Award damages in the amount of $25,000 against each of
the Defendants for violating Plaintiff's Constitutional rights;

D. Grant actual cost for having to litigant this action,
plus all cost of court including filing fees.

E. Award any other relief that is deemed just and equitable.

Date: July * 9015 Respectfully submitted,

 

Robert Boles, #156632
Lakeland Correctional
Facility- 141 First St
Coldwater, MI 49036

VERIFICATION

I declare under the penalty of perjury that the foregoing is

true and correct.

Date: July , 2015 Lb

“Robert Boles

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